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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
CAMPAIGN LEGAL CENTER,              )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                Civil Action No. 18-0340 (ABJ)
                                    )
UNITED STATES DEPARTMENT            )
OF JUSTICE,                         )
                                    )
                  Defendant.        )
____________________________________)

                                             ORDER

        Pursuant to Federal Rules of Civil Procedure 56 and 58, and for the reasons stated in the

accompanying Memorandum Opinion, it is hereby

       ORDERED that defendant’s motion for summary judgment, [Dkt. # 13], is DENIED

with respect to redactions (b)(6)-1, (b)(6)-2, and (b)(6)-3, and GRANTED with respect to

redaction (b)(6)-4. It is

       FURTHER ORDERED that plaintiff’s motion for summary judgment, [Dkt. # 15], is

GRANTED with respect to redactions (b)(6)-1, (b)(6)-2, and (b)(6)-3, and DENIED with

respect to redaction (b)(6)-4 and its request for an in camera review of the withheld material.
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       The government must release the names of individuals b6-1, b6-2, and b6-3 since such

disclosure would not “constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C. §

552(b)(6).

       SO ORDERED.




                                            AMY BERMAN JACKSON
                                            United States District Judge

DATE: March 15, 2019




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